

People v Garcia (2021 NY Slip Op 05097)





People v Garcia


2021 NY Slip Op 05097


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Acosta, P.J., Singh, Kennedy, Mendez, Higgitt, JJ. 


Ind No. 1021/18 1021/18 Appeal No. 14227 Case No. 2019-5137 

[*1]The People of the State of New York, Respondent,
vLarry Garcia, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Anjali Pathmanathan of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael J. Yetter of counsel), for respondent.



Judgment, Supreme Court, New York County (Ellen N. Biben, J.), rendered April 18, 2019, convicting defendant, upon his plea of guilty, of two counts of attempted assault in the second degree, and sentencing him to consecutive terms of two to four years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of directing that the sentences be served concurrently, and otherwise affirmed.
We find the sentences excessive to the extent indicated. The record does not establish a valid appeal waiver.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








